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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

                                            :
UNITED STATES OF AMERICA
                                            :

     v.                                     :     Criminal No. JFM-09-0145

                                            :
STANLEY HARRISON
                                            :

                              MEMORANDUM OPINION

     The Public Defender has filed a “status report” regarding a

motion    under    18    U.S.C.    §       3582    requesting      a    reduction     in

defendant‟s sentence due to the adoption of Amendment 706 to the

Sentencing     Guidelines.          As      the     status    report      notes,      the

defendant    was   found   to     be   a    career    offender        under   §    4B1.1;

nevertheless, the report asserts that the sentence was “based

on” § 2D1.1(c), which has been lowered by Amendment 706.                            Other

courts considering this issue, however, have uniformly resolved

it   against       the   position          taken     in      the   status         report.

Accordingly, the motion under 18 U.S.C. § 3582(c)(2) will be

denied for the following reasons.

     Section 3582(c)(2) of Title 18 provides:

            in the case of a defendant who has been
            sentenced to a term of imprisonment based on
            a sentencing range that has subsequently
            been lowered by the Sentencing Commission
            pursuant to 28 U.S.C. § 994(o), upon motion
            of the defendant or the Director of the
            Bureau of Prisons, or on its own motion, the
            court may reduce the term of imprisonment,
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          after considering the factors set forth in
          section 3553(a) to the extent that they are
          applicable,   if   such    a   reduction  is
          consistent with applicable policy statements
          issued by the Sentencing Commission.

    In United States v. Plater, 2008 WL 2543435, at *1 (D.Md.

June 24, 2008), Judge Messitte noted that “such a reduction is

not authorized under § 3582(c) (2) if „the amendment does not

have the effect of lowering the defendant‟s applicable guideline

range because of the operation of another guideline or statutory

provision.‟ U.S.S.G. § 1B1.10 comment. (n.1(A)(ii)) (Supp. to

2007 Guidelines Manual).”      The Plater court ultimately held:

               As a career offender, the guideline
          range applicable to Plater was prescribed by
          Section 4B1.1 rather than Section 2D1.1,
          i.e., the guideline for the “crack” offense,
          with the result that Amendment 706 does not
          have the effect of lowering the applicable
          guideline range.     The Fourth Circuit has
          firmly agreed with this analysis, holding in
          similar cases that while the “base offense
          level corresponding to the determined drug
          quantity would be lower as a result of
          Amendment 706, the amendment is ultimately
          of no consequence because calculation of
          [defendant's] base offense level was driven
          by the career offender designation,” United
          States v. Bronson, 2008 WL 539796, at *3
          (4th Cir. February 27, 2008); see also
          United States v. Gray, 2008 WL 895012, at *2
          (4th Cir. April 2, 2008).

Plater, 2008 WL 2543435 at *2.        The Fourth Circuit upheld that

decision, albeit in an unpublished opinion:




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                 Angelo   Albert   Plater   appeals  the
            district court‟s order denying his 18 U.S.C.
            § 3582(c)(2) (2006) motion. We have reviewed
            the record and find no reversible error.
            See United States v. Hood, 556 F.3d 226 (4th
            Cir. 2009).   Accordingly, we affirm for the
            reasons stated by the district court. United
            States v. Plater, No. 8:97-cr-00408-PJM-1,
            2008 WL 2543435 (D. Md. filed June 24, 2008;
            entered June 25, 2008).     We dispense with
            oral argument because the facts and legal
            contentions are adequately presented in the
            materials before the court and argument
            would not aid the decisional process.

United States v. Plater, 322 Fed.Appx. 353 (4th Cir. April 22,

2009).

    Since    then,    the    First,   Second,   Third,    Sixth,    Seventh,

Eighth, Ninth, and Tenth Circuits have held that Amendment 706

offers no relief to defendants sentenced as career offenders.

In United States v. Wesson, 583 F.3d 728, 731 (9th Cir. 2009),

the court observed:

            [W]ith respect to the first prong of 18
            U.S.C. § 3582(c)(2), a drug offense sentence
            that is “based on” a sentencing range
            calculated under U.S.S.G. § 4B1.1 because
            the defendant was a career offender cannot
            have been “based on” a sentencing range
            calculated under the § 2D1.1 drug amount
            table.    The two sentencing schemes are
            mutually exclusive. We thus join our sister
            circuits in holding that a career offender
            sentenced  pursuant to § 4B1.1 is not
            eligible for a sentence reduction under
            Amendment 706. See United States v. Perdue,
            572 F.3d 288, 291-93 (6th Cir. 2009); United
            States v. Martinez, 572 F.3d 82, 84-85 (2d
            Cir. 2009) (per curiam); United States v.
            Mateo, 560 F.3d 152, 154-56 (3d Cir.2009);
                                        3
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          United States v. Forman, 553 F.3d 585, 589-
          90 (7th Cir. 2009) (per curiam); United
          States v. Caraballo, 552 F.3d 6, 9-12 (1st
          Cir.2008); United States v. Sharkey, 543
          F.3d 1236, 1238-39 (10th Cir. 2008); United
          States v. Tingle, 524 F.3d 839, 839-40 (8th
          Cir. 2008) (per curiam).

There   also   are   many    unpublished     Fourth    Circuit     cases,    in

addition to Plater, holding that career offenders do not get the

benefit of the crack amendment.            See, e.g., United States v.

Byers, 2009 WL 2870205 (4th Cir. Sept. 8, 2009); United States v.

Mack, 327 Fed.Appx. 428 (4th Cir. May 14, 2009); United States v.

Carson, 332 Fed.Appx. 75 (4th Cir. June 17, 2009).

     Accordingly, the motion will be denied by separate order.




                                       /s/
                                  J. Frederick Motz
                                  United States District Judge




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